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           ORDERED in the Southern District of Florida on December 3, 2024.




                                                                      Laurel M. Isicoff, Judge
                                                                      United States Bankruptcy Court
___________________________________________________________________________




                                        UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF FLORIDA
                                                 MIAMI DIVISION
                                                www.flsb.uscourts.gov

           In re:                                                      Chapter 11

           SHIFTPIXY, INC. et, al.1                                    Case No. 24-21209-LMI

                 Debtors.                                              (Jointly Administered)
           _______________________________/

               FINAL ORDER AUTHORIZING DEBTORS’ MOTION FOR AUTHORIZATION
                            TO USE CASH COLLATERAL [ECF NO. 15]

                    THIS MATTER came before the Court on November 21, 2024 at 9:30 a.m. on the

           continued hearing for the Debtors’ Motion for Authorization to Use Cash Collateral (the


           1
             The Debtorss are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management,
           Inc. The address of the Debtorss is 1401 NW 25th Street, Miami, FL 33142.
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“Motion”) [ECF No. 15]. Balanced Management LLC (“Creditors”) may have a lien on the cash

Debtors by virtue of various loan agreements and UCC-1 Financing Statements, which are

attached as Exhibits to the Debtors’ Motion for Authorization to Use Cash Collateral.

       The Debtors assert that the current income and expenditures set forth in the budget

presented by the Debtors are estimates and approximations based on past, present and projected

data of the Debtors’ operations, and found to be reasonable. The Court, having reviewed the

Motion, and pleadings in this case, having heard arguments of counsel and being fully advised

on the premises, it is hereby,

       ORDERED, as follows:

       1.      The Motion is hereby GRANTED as set forth herein on a final basis.

       2.      During the pendency of this bankruptcy and until further Order of this Court, all

pre-petition and post-petition income shall be turned over and paid to the Debtors for deposit into

the Debtors in Possession bank account, or the accounts that are subject of the Amended Order

Granting Debtors’ Emergency Motion to Maintain Pre-Petition Bank Accounts. The use of the

cash collateral is necessary for an effective reorganization and to avoid harm to the Debtors’

bankruptcy estate. The Debtors need to be able to pay its regular business operating expenses and

administrative expenses and other ordinary expenses as they become due.

       3.      Based upon the arguments made on the record at the hearing on this matter, the

Debtor is authorized to use its cash collateral in the regular course of its business affairs pursuant

to the budgets filed.

       4.      The Debtors’ authorization to use cash collateral is limited to a variance not to

exceed 10% of any particular line-item expense on the budgets attached hereto, unless otherwise

agreed in writing between the parties or by order of this Court.



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        5.      As adequate protection for and to the extent of Debtors’ use of “cash collateral”

pursuant to this Order, the Creditors are hereby granted, as of the Petition Date, replacement

liens to the same extent as any pre-petition lien, pursuant to 11 U.S.C. § 361(2), on a final basis,

without any prejudice to any rights of the Debtors to seek to void the lien as to the extent,

validity, or priority of said liens.

        6.      As of the date of this Order, an unsecured creditor’s committee has not been

appointed. The foregoing findings are without prejudice to the right of any creditor, creditor’s

committee, any subsequently appointed trustee or any other party to object to the validity,

priority and extent to each of the above creditor’s secured claims.

        7.      The relief granted herein is effective through the hearing date scheduled below.

        8.      The Debtors’ updated budget is attached hereto as Exhibit A.

        9.      It is the intent of the Court and this Order to preserve the rights of all parties and

to preserve the status quo pending further proceedings. As a result, any right, objection, factual

assertion, or legal argument not specifically addressed and ruled upon by the Court at the hearing

or in this Order shall remain as it was prior to the entry of this Order.

        10.     This Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

                                                  ###
Submitted by:
Isaac M. Marcushamer, Esq.
DGIM Law, PLLC
Counsel for the Debtors
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Aventura, FL 33180
Phone: (305) 763-8708
Email: isaac@dgimlaw.com

[Isaac M. Marcushamer, Esq. is directed to provide a copy of this signed Order to all parties of record
and to file a Certificate of Service conforming with Local Rule 2002-1(F), within 3 days of entry of this
Order]

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           EXHIBIT A




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ShiftPixy, Inc
Cash Projection
Week Ending 11-22-2024 through 12-20-2024

                                                                      Week Ending         Week Ending          Week Ending       Week Ending       Week Ending            TOTAL
                                                                       11/22/2024          11/29/2024           12/6/2024         12/13/2024        12/20/2024       as of 12/20/2024

     Opening Cash Balance - EOD 10-28-2024                                 196,888.72           334,278.84         146,106.78        246,751.15         19,120.21         196,888.72

     Projected Revenue
           Cash Collections                                                492,444.38           179,272.80         445,463.41        190,610.06        446,568.16        1,754,358.81

     Cost of Goods
           Client Payroll Expenses                                         (152,248.40)         (348,954.58)      (242,880.86)      (348,954.58)      (242,880.86)      (1,335,919.28)
           Client Benefits and Other Expenses                                      -                    -                 -                 -                 -                   -
           Payroll & Tax Processing Systems                                  (4,242.57)             (800.00)       (12,000.00)        (5,042.57)              -            (22,085.14)


     General & Admin
          Corporate Payroll                                                 (74,135.18)             (680.48)       (69,938.18)          (680.48)       (69,938.18)        (215,372.50)
          Payroll Taxes                                                     (20,000.00)                 -          (20,000.00)              -          (20,000.00)         (60,000.00)
          Employee Benefits                                                 (24,082.89)           (5,886.57)              -          (48,357.25)              -            (78,326.71)
          Insurance                                                         (35,139.10)          (11,123.23)              -                 -          (44,589.04)         (90,851.37)
          Current Rent                                                             -                    -                                                                         -
          Utilities                                                          (2,764.67)                 -                 -           (2,764.67)              -             (5,529.34)
          Internet                                                           (3,763.36)                 -                 -           (3,763.36)              -             (7,526.72)
          Phone                                                              (8,678.09)                 -                 -           (8,678.09)              -            (17,356.18)
          Software Licenses                                                 (15,000.00)                 -                 -                 -          (15,000.00)         (30,000.00)
          Other                                                                    -                    -                 -                 -                 -                   -

           Filing Expenses                                                         -                    -                 -                 -                 -                   -
           * CRO Fees                                                       (15,000.00)                 -                 -                 -          (15,000.00)         (30,000.00)
           * Professional Fee - Counsel                                            -                    -                 -                 -          (20,000.00)         (20,000.00)
           US Trustee Fee                                                          -                    -                 -                 -          (25,000.00)         (25,000.00)

     Total Expenses                                                        (355,054.26)         (367,444.86)      (344,819.04)      (418,241.00)      (452,408.08)      (1,937,967.24)

                              WEEKLY CASH FLOW                             137,390.12           (188,172.06)       100,644.37       (227,630.94)        (5,839.92)        (183,608.43)

     NET ACTIVITY                                                          334,278.84           146,106.78         246,751.15         19,120.21         13,280.29           13,280.29


     *     Reserves only and subject to application before the Court before payments are made
